        Case: 3:16-cv-00761-jdp Document #: 61 Filed: 11/17/17 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN


CRAIG CUNNINGHAM,

               Plaintiff,
       v.

MICHAEL MONTES, Tollfreezone.com, Inc.,
                                                                     Case No. 16-cv-761
Mydataguys.com, LLC, Podmusicgear.com, Inc.,
Tollfreezone.com, Inc., dba Docauditor.com,
Tollfreezone.com, Inc., dba Mobile Trackme,
Emailmyvmail.Com, Inc., and John and Jane Does 1-10,

               Defendants.


                         MOTION TO STAY POST-JUDGMENT
                       COLLECTION ACTIONS PENDING APPEAL


       NOW      COME        Defendants-Appellants,   Michael   Montes, Tollfreezone.com, Inc.,

Mydataguys.com, LLC, Podmusicgear.com, Inc., and Emailmyvmail.Com, Inc., by and through

their attorneys, Axley Brynelson, LLP, by Kevin D. Trost, and move the court pursuant to Fed.

R. Civ. P. 62(c) for an order staying post-judgment activities by the Plaintiff-Appellee, including

the recently issued garnishments, pending resolution of the appeal to the Seventh Circuit Court

of Appeals. This motion is supported by the pleadings of record and the supporting

memorandum of law submitted herewith.

       Dated this 17th day of November, 2017.

                                             AXLEY BRYNELSON, LLP
                                             s/ Kevin D. Trost
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